

Gadbow-Marenic v Marenic (2018 NY Slip Op 02929)





Gadbow-Marenic v Marenic


2018 NY Slip Op 02929


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.


190 CA 17-00069

[*1]CELESTE GADBOW-MARENIC, PLAINTIFF-RESPONDENT,
vTHOMAS K. MARENIC, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






THOMAS K. MARENIC, DEFENDANT-APPELLANT PRO SE.
JOHN W. DILLON, UTICA, FOR PLAINTIFF-RESPONDENT.


	Appeal from an order of the Supreme Court, Oneida County (Erin P. Gall, J.), entered July 28, 2016 in a divorce action. The order directed defendant to pay $13,326.25 in attorney's fees to plaintiff's attorney. 
Now, upon reading and filing the stipulation of discontinuance signed by the defendant on March 13, 2018 and by the attorney for the plaintiff on March 23, 2018,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: April 27, 2018
Mark W. Bennett
Clerk of the Court








